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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 IN RE:
                                                              Case No. 19-30477
 SEAN AVERY PERKINS AND                                             Chapter 7
 KIMBERLY ANN PERKINS,

                           Debtors

   NOTICE OF TRUSTEE’S APPLICATION FOR AUTHORITY AND APPROVAL TO
  EMPLOY GLADWIN D'COSTA, A MEMBER OF MARYLAND REO REALTY, AND
 APPROVE LISTING AGREEMENT FOR SALE OF REAL PROPERTY and TRUSTEE’S
  APPLICATION TO RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE
CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327 AND NOTICE OF HEARING

       A. Burton Shuford, Trustee, through his attorney, has filed papers with the Court as
described above. Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

        A hearing will be held to consider these Applications on August 12, 2019 at 9:30 AM at
the United States Federal Courthouse, 401 W. Trade Street, Charlotte, North Carolina. No further
notice of this hearing will be given.

      All interested parties may attend and be heard.              If you do not oppose these
Applications, you do not have to attend.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose
the relief sought in these Applications and may enter an order granting the requested relief.

This 24th day of July, 2019.
                                        /s/ A. Burton Shuford
                                      A. Burton Shuford, NCBN 10035
                                      4700 Lebanon Road, Suite A-2
                                      Mint Hill, NC 28227
                                      Direct Dial: (980) 321-7000; bshuford@abshuford.com
                                      Attorney for the Trustee
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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
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 IN RE:
                                                              Case No. 19-30477
 SEAN AVERY PERKINS AND                                             Chapter 7
 KIMBERLY ANN PERKINS,

                           Debtors

                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of by depositing copies of NOTICE OF
TRUSTEE’S APPLICATION FOR AUTHORITY AND APPROVAL TO EMPLOY GLADWIN
D'COSTA, A MEMBER OF MARYLAND REO REALTY, AND APPROVE LISTING AGREEMENT
FOR SALE OF REAL PROPERTY and TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11
U.S.C. § 327 NOTICE OF HEARING by either Electronic Case Filing as indicated below or in the
exclusive care and custody of the United States Postal Service, with proper postage thereto affixed,
addressed to the parties listed on the attached Exhibit “A”.

Shelley K. Abel, US Bankruptcy Administrator                 VIA ELECTRONIC CASE FILING

Terry M. Duncan, Counsel for Debtors                         VIA ELECTRONIC CASE FILING

 Sean Avery Perkins
 Kimberly Ann Perkins
 6824 Charter Hills Road
 Charlotte, NC 28227

This 24th day of July, 2019.
                                        /s/ A. Burton Shuford
                                      A. Burton Shuford, NCBN 10035
                                      4700 Lebanon Road, Suite A-2
                                      Mint Hill, NC 28227
                                      Direct Dial: (980) 321-7000; bshuford@abshuford.com
                                      Attorney for the Trustee
